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       ORDERED in the Southern District of Florida on December 23, 2014.



                                                 Paul G. Hyman, Jr.
                                                 Chief United States Bankruptcy Judge


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